Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 1 of 77   PageID 272




                           EXHIBIT 1
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 2 of 77   PageID 273
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 3 of 77   PageID 274
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 4 of 77   PageID 275
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 5 of 77   PageID 276
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 6 of 77   PageID 277
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 7 of 77   PageID 278
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 8 of 77   PageID 279
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 9 of 77   PageID 280
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 10 of 77   PageID 281
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 11 of 77   PageID 282
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 12 of 77   PageID 283
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 13 of 77   PageID 284
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 14 of 77   PageID 285
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 15 of 77   PageID 286
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 16 of 77   PageID 287
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 17 of 77   PageID 288
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 18 of 77   PageID 289
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 19 of 77   PageID 290
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 20 of 77   PageID 291
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 21 of 77   PageID 292
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 22 of 77   PageID 293
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 23 of 77   PageID 294
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 24 of 77   PageID 295
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 25 of 77   PageID 296
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 26 of 77   PageID 297
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 27 of 77   PageID 298
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 28 of 77   PageID 299
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 29 of 77   PageID 300
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 30 of 77   PageID 301
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 31 of 77   PageID 302
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 32 of 77   PageID 303
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 33 of 77   PageID 304
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 34 of 77   PageID 305
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 35 of 77   PageID 306
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 36 of 77   PageID 307
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 37 of 77   PageID 308
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 38 of 77   PageID 309
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 39 of 77   PageID 310
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 40 of 77   PageID 311
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 41 of 77   PageID 312
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 42 of 77   PageID 313
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 43 of 77   PageID 314
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 44 of 77   PageID 315
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 45 of 77   PageID 316
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 46 of 77   PageID 317
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 47 of 77   PageID 318
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 48 of 77   PageID 319
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 49 of 77   PageID 320
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 50 of 77   PageID 321
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 51 of 77   PageID 322
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 52 of 77   PageID 323
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 53 of 77   PageID 324
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 54 of 77   PageID 325
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 55 of 77   PageID 326
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 56 of 77   PageID 327
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 57 of 77   PageID 328
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 58 of 77   PageID 329
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 59 of 77   PageID 330
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 60 of 77   PageID 331
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 61 of 77   PageID 332
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 62 of 77   PageID 333
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 63 of 77   PageID 334
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 64 of 77   PageID 335
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 65 of 77   PageID 336
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 66 of 77   PageID 337
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 67 of 77   PageID 338
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 68 of 77   PageID 339
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 69 of 77   PageID 340
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 70 of 77   PageID 341
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 71 of 77   PageID 342
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 72 of 77   PageID 343
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 73 of 77   PageID 344
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 74 of 77   PageID 345
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 75 of 77   PageID 346
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 76 of 77   PageID 347
Case 2:17-cv-02015-SHM-dkv Document 39-2 Filed 05/26/17 Page 77 of 77   PageID 348
